                              Case 1:21-cv-00432-APM Document 1-1 Filed 02/18/21 Page 1 of 9EGEiir$tE
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                                               SUPERIOR COURT OF THE DISTRICT OF'COLUMBIA                                                                   OCT 1 6 ;"jiil
                                                     CIVIL DMSION - Civil Actions Branch
                                                       500 Indiana Avenue, N.W., Suite 5000 Washington, D.C.20001                                 By       A/
                                                            Telephone: (202) 879-1133 Website: www.dccourts.gov

        Micheal Gatlin
                                                  Plaintiff(s)

                                                                                                                  Case   No: 2020c387 9
        Vida Williams c/o Unity Healthcare
                                               Defendant(s)

                                                  NOTICE AND ACKNOWLEDGMENT OF SERVICE

       To (insert name and address of the party to be served)
       Vida Williams
        1100 New Jersey Ave SE #500
        Washineton DC 20003



              The enclosed sufilmons, complaint, initial order, and any addendum are served in accordance with Superior
       Court Rule of Civil Procedure a(cXs).
              Please sign and date the Acknowledgement at the bottom of the page. If you axe served on behalf of a
       corporation, unincorporated association (including a partnership), or other entity, please indicate your relationship to
       that entity in the space beside your signature. Ifyou are served on behalfofanother person and you are authorized to
       receive process, please indicate your authority in the space beside your signature.
              If you do not complete and return the form to the sender within 2l days after it was mailed and you do not show
       good cause for this failure, you (or the parfy on whose behalfyou are being served) will be required to pay 1) the costs
       incurred in serving the summons, complaint, initial order, and any addendum in any other manner permitted by law and
       2) the reasonable expenses, including attomey's fees, for any motion required to collect those service expenses.
              If you do complete and return this form, you (or the party on whose behalf you are being served) must answer
       the complaint within 2l days after you have signed, dated, and retumed the form (or within 60 days if the party being
       served is the United States, the District of Columbia, or officers or employees of either). If you fail to do so, judgment
       by default may be entered against you for the relief demanded in the complaint.
              This Notice and Acknowledgment of Receipt of Summons, Complaint, Initial Order, and Any Addendum was
       mailed on (insert date):

                                                                                                                   7'e?'r?,,2a
                                                                                                              Date of Signature

                                                ACKNOWLEDGMENT OF RECEIPT OF SUMMONS,
                                               COMPLAINT, INITIAL ORDER, AND ANY ADDENDUM

                   I (print   name)                              received a copy of the summons, complaint, initial
        order, and any addendum in the above captioned matter at (insert address)




  Signature                                                 Relationship t o Defendant/Authority                    Date of Signature
                                                              to Receive Service

  Pm   pedir   ua naducci6q   llame al (202) 8794828                                                                  Veuillez appeler au (202) 8794828 pow   ue   traduction

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CA l-A [Rev.     June 2017]                                                                                                              Super. Ct. Civ.   R.4
                     Case 1:21-cv-00432-APM Document 1-1 Filed 02/18/21 Page 2 of 9

                                           Superior Court of the District of Columbia
                                                    DMSION - Civil Actions Branch
                       Fil-Smrndiana               venue, N.W., Suite 5000 Washington, D.C.20001
                                                    (202) 879-1133 Website: www.dccourts.gov
                     ACTTChIS

                   sEP      - t ?0?8                                       Case No.             ?ncn \rt?o7o
                                                                                                -vhv      t {
                       Strtericr Cottrt
                 of the iJ'rstrict e I Colutnbia
                      Washiirgton' D.c.                      COMPLAINT
                                      Jurisdiction of this Court is founded on D.C. Code $   ll-921


Micheal Gatlin                                                          Unity Healthcare
PLAINTIFF                                                        VS     DEFENDANT

425 2nd St., NW                                                         1100 New Jersey Ave., SE, #500
Address (No   Post Office Boxes)


Wash.              DC                    20001                          Wash. DC                           20003
City              State                  zip Code                       City            State              zip Code


Telephone Number                                                        Telephone Number



Email Address ( optional)                                               Email Address ( optional)



  1.   Write a short and plain statement of your claim, including any relevant facts, dates, and locations:

       Unity Healthcare's part in denying me medical care by refusing to
       address my medical needs regarding my shoulders is at the very least
       "Medical Negligence". The very fact that I received not even a pain pill
       for the injury ( rotator cuff tear) during the 9 months after I reported the
       injury was tantamount to cruel and unusual punishment. They even told
       Judg e Anthony Epstein (of this court) that I was ok when even my
       medical records from this time period shows they had not seen me.

  2.    What relief are you requesting from the Court? Include any request for money damages.

       I'm asking seeking 2 million dollars in damages. I'm also seeking an
       additional 4 million dollars due to Unity Healthcare denying me
       medical care for what turned out to be a torn rotator cuff injury.




Form CA-3074 [Rev. Nov. 2017j                                                                    Super. Ct. Civ. R. 3
                   Case 1:21-cv-00432-APM Document 1-1 Filed 02/18/21 Page 3 of 9



3.   State any other information, of which the Court should be aware:

     I'lll be calling Claudia Barrett, Gloria Fitzgerald, Kimball Beck, Mabel Marshall,
     Paulos Kidane, Priscilla Momoh, Rayan Hagona-Wordie, Sandra Tyson, Shi-
     Wei Samuel Hwo, Sikiru Salami, Terry Nguyen and Vida Williams of Unity
     Healthcare to testify . l'll also be calling Lennard Johnson (warden DC jail) to
     testify




                                                     SIGNATURE

  To the best of my knowledge, everything in this Complaint is true and I am not filing this Complaint to
  harass the           S          Court Civil Rules 1l(b)

               \




  DATE



                                                                           q&
Subscribed and sworn to before me this                          day   of                    20-.


                                                                           (Notary Public/Deputy Clerk)




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                    Case 1:21-cv-00432-APM     Document
                                   Superior Court           1-1 Filed
                                                   of the District       02/18/21 Page 4 of 9
                                                                   of Columbia
                                               CIVIL DTVISION
                                              Civil Actions Branch                     t
                                   500 Indiana Avenue, N.W., Suite 5000 Washington, D.C. 20001
                                        Telephone: (202) 879-1133 Website : www.dccourts.gov

      Micheal Gatlin
                                                                 Plaintiff
                                       vs.

                                                                                               Case Number
      Vida Williams c/o Unity Healthcare
                                         >tFsoo                                                        2a20 3 87 s
                                                               suMMoNS
   To                                     ,?cOo7
                  are hereby summoned and required to serve an Ansr,ver to the attached Complaint, either
   personally ol through an attorney, within twenty one (21) days after service of this summons upon you,
   exclusive of the day of service. If you are being sued as an officer or agency of the United States Govemment
   or the District of Columbia Government, you have sixff (60) days after service of this summons to sewe your
   Answer. A copy of the Answer must be mailed to the attorney for the plaintiff r,vho is suing you. The
   attomey's name and address appear below. If piaintiff has no attorney, a copy of the Answer *rsi b. mailed
   to the plaintiff at the address stated on this Summons.

          You are also required to file the original Answer with the Court in Suite 5000 at 500 Indiana Avenue,
   N.W., befween 8:30 a.m. and 5:00 p.m., Mondays through Fridays or befween 9:00 a.m. and 12:00 noon on
   Saturdays. You may file the original Answer with the Court either before you sen'e a copy of the Answer on
   the plaintiff or within seven (7) days after you have served the plaintiff. If you fail to file a1 Answer,
  judgment by default may be entered against you fol the relief demanded in the complaint.

  Micheal Gatlin                                                                           Clerk of the Court
  Name of Plaintiff's Attorney

  425 2nd St., NW                                                            By
  Address                                                                                             Deputy Clerk     .;l*.
  Washington, DC 20001



  Telephone
                                                                             Date                 1- /-r6#d
  tr*SiF iH+l€ifi (2o2) 8794828 Veuillez appeler au (202, BT}482S pour une traduction E6 c6 mq)t bdi dich, hdy goi (202)ST14B2B
  Hq€ g4.A[W,(202)8794828jEH#+s},llB eh'?cf +c"r' i.l"t\+ (2o2) BTs-4828 es6>^.

     IMPORTANT:      IF YOU FAIL TO FILE AN ANSWER WITHIN THE TIME ST,{TED ABovE, oR IF, AFTER YoU
 ,{N'SWER, YOU FAIL TO APPEAR AT ANY TIME THE COURT NOTIFIES YOU TO DO SO, A JTTDGMENT BY DEFAULT
 MAY BE EN'TERED .{GATNST YOU FOR THE MONEY DAMAGES OR OTHER RELIEF DEM,{NDED L\T THE
 COMPLAIT\'T. IF THIS OCCURS, YOUR WAGES MAY BE ATTACHED OR WITFIHELD OR PERSONAL PROPER|Y OR
 REAL ESTATE YOU OWN MAY BE TAKEN AND SOLD TO PAY THE JUDGMENT. IF YOU INTEI\D TO OPPOSE THIS
 ACTION, DCI NOT FAIL TO ANSTT/ER WITHIN THE REOUIRED TIME.

     If .vou wish to talk to a lawyer and feel that you cannot afford to pay a fee to a lawyer. prornptly contact one of the offices of the
 Legal Aid Society (202-628-1161) or the Neighborhood Legai Services (202-219-5l00tfbr irclp or come to Slite 5000 at 500
 Indiana Avenue, N.W., for more inforrnation concerning places where
                                                                           .vou lnay ask for sr"ich help.

                                                 See reverse side tbr Spanish translation
                                                  Vea al dorso la traducci6n al espaflol




CV-3110 [Rev. Jrme 2017]
                                                                                                                      Super. Ct. Civ. R. 4
                Case 1:21-cv-00432-APM Document 1-1 Filed 02/18/21 Page 5 of 9
                        SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
                                       CTYIL DIVISION
                                      Civil Actions Branch
                           500 Indiana Avenue, N.W., Suite 5000, Washington, D.C. 20001
                              Telephone: (202\ 879-1133 . Website: www.dccourts.gov

MICHAEL GATLIN
    Vs.                                                               C.A.   No.          2020 CA 003879 B
UNITY HEALTHCARE


    Pursuant to D.C. Code $ l1-906 and District of Columbia Superior Court Rule of Civil Procedure
("Super. Ct. Civ. R.") 40-I, it is hereby ORDERED as follows:

      (1) Effective this date, this case has assigned to the individual calendar designated below. All future filings
in this case shall bear the calendar number and the judge's rurme beneath the case number in the caption. On
filing any motion or paper related thereto, one copy (for the judge) must be delivered to the Clerk along with the
original.

     (2) Within 60 days of the filing of the complaint, plaintiff must file proof of serving on each defendant:
copies of the summons, the complaint, and this Initial Order and Addendum. As to any defendant for whom
such proof of service has not been filed, the Complaint will be dismissed without prejudice for want of
prosecution unless the time for serving the defendant has been extended as provided in Super. Ct. Civ. R. a(m).

     (3) Within 2l days of service as described above, except as otherwise noted in Super. Ct. Civ. R. 12, each
defendant must respond to the complaint by filing an answer or other responsive pleading. As to the defendant
who has failed to respond, a default and judgment will be entered unless the time to respond has been extended
as provided in Super. Ct. Civ. R. 55(a).


     (4) At the time and place noted below, all counsel and unrepresented parties shall appear before the
assigned judge at an initial scheduling and settlement conference to discuss the possibilities of settlement and to
establish a schedule for the completion of all proceedings, including, normally, either mediation, case evaluation,
or arbitration. Counsel shall discuss with their clients prior to the conference whether the clients are agreeable to
binding or non-binding arbitration. This order is the only notice that parties and counsel will receive
concerning this Conference.

    (5) Upon advice that the date noted below is inconvenient for any party or counsel, the Quality Review
Branch (202) 879-1750 may continue the Conference once, with the consent of all parties, to either of the two
succeeding Fridays. Request must be made not less than seven business days before the scheduling conference
date.
No other continuance of the conference will be granted except upon motion for good cause shown.

     (6) Parties are responsible for obtaining and complying with all requirements of the General Order for Civil
cases, each judge's Supplement to the General Order and the General Mediation Order. Copies of these orders
are available in the Courtroom and on the Court's website httf//www.dccourts.sov/.

                                                              Chief Judge Robert E. Morin
Case Assigned   to: Judge YVONNE WILLIAMS
Date:     September 3,2020
Initial Conference: 9:30 am, Friday, December 18,2020
Location: Courtroom 518
            500 Indiana Avenue N.W.
            WASHINGTON, DC 2OOOI
                                                                                                     CAIO-60
          Case 1:21-cv-00432-APM Document 1-1 Filed 02/18/21 Page 6 of 9

                       ADDENDUM TO INITIAL ORDER AFFECTING
                         ALL MEDICAL MALPRACTICE CASES

        In accordance with the Medical Malpractice Proceedings Act of 2006, D.C. Code $ 16-2801,
et seq. (2007 Winter Supp.), "[a]fter an action is filed in the court against a healthcare provider
alleging medical malpractice, the court shall require the parties to enter into mediation, without
discovely or, if all parties agree[,] with only limited discovery that will not interfere with the
completion of mediation within 30 days of the Initial Scheduling and Settlement Conference
("ISSC"), prior to any further litigation in an effort to reach a settlement agreement. The early
mediation schedule shall be included in the Scheduling Order following the ISSC. Unless all
parties agree, the stay of discovery shall not be more than 30 days after the ISSC."
D.C. Code 516-2821.

        To ensure compliance with this legislation, on or before the date of the ISSC, the Court will
notifr all attorneys and pro se parties of the date and time of the early mediation session and the
name of the assigned mediator. Information about the early mediation date also is available over
the internet at https://www:dccourts.govlpa/. To facilitate this process, all counsel and pro se
                                                                      jointly complete and sign an
-Eenfyin every medical malpractice case are required to confer, (10)
parties
          MEDIATION FORM, which must be filed no later than ten            calendar days prior to the
ISSC. D.C. Code $ 16-2325 Two separate Early Mediation Forms are available. Both forms may be
obtained at www.dccourts.gov/medmalmediation. One form is to be used for early mediation with a
mediator from the multi-door medical malpractice mediator roster; the second form is to be used for
early mediation with a private mediator. Both forms also are available in the Multi-Door Dispute
Resolution Office, Suite 2900, 410 E Street, N.W. Plaintiffs counsel is responsible for eFiling the
form and is required to e-mail a courtesy copy to earlymedmal@dcsc.gov. Pro se Plaintiffs who
elect not to eFile may file by hand in the Multi-Door Dispute Resolution Office.

      A roster of medical malpractice mediators available through the Court's Multi-Door Dispute
Resolution Division, with biographical information about each mediator, can be found at
www.dccourts.gov/medmalmediation/mediatorprofiles. A11 individuals on the roster are judges or
lawyers with at least l0 years of significant experience in medical malpractice litigation.
D.C. Code g I6-2523(a). If the parties cannot agree on a mediator, the Court will appoint one.
D.C. Code $ 16-2823(b).

       The following persons are required by statute to attend personally the Early Mediation
Conference: (l) all parties; (2) for parties that are not individuals, a representative with settlement
authority; (3) in cases involving an insurance company, a representative of the company with
sefflement authority; and (a) attorneys representing each party with primary responsibility for the
case. D.C. Code $ 16-2824.

        No later than ten (10) days after the early mediation session has terminated, Plaintiff must
eFile with the Court a report prepared by the mediator, including a private mediator, regarding:
(1) attendance; (2)whether a settlement was reached; or, (3) if a settlement was not reached, any
agreements to narrow the scope of the dispute, limit discovery, facilitate future settlement, hold
another mediation session, or otherwise reduce the cost and time of trial preparation.
D.C. Codeg 16-2826. Any Plaintiff who is pro se may elect to file the report by hand with the Civil
Actions Branch. The forms to be used for early mediation reports are available at
www. dccourts. gov/medmalmediation.

                                                             Chief Judge Robert E.              Morin


                                                                                               cAro-60
                          Case 1:21-cv-00432-APM Document 1-1 Filed 02/18/21 Page 7 of 9

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                                                    CIVI    DIVISION
                                           500 Indiana Ave., N.W., Rm_-.IM-170
                                                 Washington, D.C. 2000L




                                                  Plaintiff

                                                                      CivilActionNo.
                               VS.




                                                 Defendant



                                              ANSWER OF DBFENDANT

DISTRICT OF COLUMBIA,                SS:


       The defendant, for answer to the claim of the plaintiffherein, says that he said plaintiff is not
                                                                                                         entitled to

have judgment as demanded in the complaint for the following reasons:




And, therefore, said defendant respectfully demands that this suit be heard in open court'


 DEFENDANT:                                       ADDRESS                                  TELEPHONE NO



 COPY MAILED TO: (ATTORNEY FOR PLAINTIFF)


                                                                                                            2-0881 wd-l55
Fom CV(6)-451 / Dec. 9l
                          Case 1:21-cv-00432-APM
                                       i         Document 1-1 Filed 02/18/21 Page 8 of 9

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                                                      CIVIL DIVISION
                                            500 Indiana Ave., N.W., Rm-JM-170
                                                   Washington,   D.C.   20001
                                             )'




                                                    Plaintiff

                                                                           CivilActionNo
                                vs.




                                                   Defendant



                                                  ANSWER OF      DEFEI\DANT              I

      DISTRICT OF COLUMBIA,           ss:

             The,defendant, for answer to the claim of the plaintiffherein; says that he said plaintiffis not entitled to
      '
      have judgrnent as demanded in the conrplaint.for the followlng reasons:




,14




      And, theggf,ore, said defendant respectfully demands that this suit be heard in open court.


       DEFENDANT:                                   ADDRESS:                                      TETEPHONE NO.




                                                                                             t.
      FomCV(6)451/Do.9l                                                                                         24881 wd-155
                           Case 1:21-cv-00432-APM Document 1-1 Filed 02/18/21 Page 9 of 9

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                                                      CIVI     DIVISION
                                             500 Indiana Ave., N.W.o Rm-JM-170
                                                   Washington, D.C. 20001




                                                   Plaintiff


                                                                          CivilActionNo
                                 VS.




                                                  Defendant



                                               ANSWER OF DEFENDANT
 DISTRICT OF COLUMBIA,                 ss:

        The defendant, for answer to the claim of the plaintiffherein, says that he said plaintiff is not entitled to
 have judgment as demanded in the complaint for the following reasons:




And, therefore, said defendant respectfully demands that this suit be heard in open court.


 DEFENDANT:                                       ADDRESS:                                 TELEPHONE NO


 CO PY MAILED TO: (ATTO RNEY FOR PLAINTIFF)


Fom CV(6)-45 I / Dec. 9l
                                                                                                           2-0881 wd-155
